       Case 9:16-cr-00029-DWM Document 50 Filed 01/23/17 Page 1 of 3



                                                                     FILED
                                                                      ~AN 23 2017
                                                                      Clerk, u.s Courts
                                                                      District Of Mo
                                                                      Missoula   OW:
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



 UNITED STATES OF AMERICA,                            CR 16-29-M-DWM

                      Plaintiff,
                                                   PRELIMINARY ORDER
        vs.                                           OF FORFEITURE

 BRETT WILLIAM REUM, and PHILIP
 MICHAEL FRISCIA,

                      Defendant.


      THIS MATTER comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture. (Doc. 48.) Defendant Philip Michael Friscia

appeared before the Court on October 11, 2016, and entered a guilty plea to Count

III of the Indictment. Defendant Brett William Reum appeared before the Court

on January 13, 201 7, and entered a plea of guilty to Count I of the Indictment.

Both defendants admitted the forfeiture allegation. The defendants pleas provides

a factual basis and cause to issue an Order of Forfeiture, pursuant to 21 U.S.C.

§ 881(a)(l 1).

                                         -1-
       Case 9:16-cr-00029-DWM Document 50 Filed 01/23/17 Page 2 of 3



      IT IS ORDERED:

      THAT the United States' motion (Doc. 48) is GRANTED. This Order

supersedes the preliminary order of forfeiture entered on January 20, 2017. (See

Doc. 44.);

      THAT Friscia's and Reum's interest in the following property is forfeited to

the United States in accordance with 21 U.S.C. § 881(a)(l 1).

                • Coast to Coast, model 267 12 gauge (pump action) shotgun
                  (Serial Number A538276);

                • Taurus, (model unknown, 9mm Para caliber revolver (serial
                  number GX52361);

                • Savage Arms, model 944 Series, .410 gauge (break action)
                  shotgun, (serial number P90693 6);

                • Five Rounds Federal Ammunition CAL :9;

      THAT the United States Marshals Service and the Bureau of Alcohol,

Tobacco, Firearms and Explosives are directed to seize the property subject to

forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on

an official government internet site (www.forfeiture.gov) for at least 30

consecutive days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for


                                         -2-
       Case 9:16-cr-00029-DWM Document 50 Filed 01/23/17 Page 3 of 3



Admiralty or Maritime Claims and Asset Forfeiture Actions of the Court's

Preliminary Order and the United States' intent to dispose of the property in such

manner as the Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21

U.S.C. § 853(n)(l), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of;;Jiture.

      Dated this~ day of January, 2017.




                                                    olloy, District Judge
                                                    District Court




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